        Case 2:17-cv-04392-MMB Document 218 Filed 04/26/18 Page 1 of 2



                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA

LOUIS AGRE, WILLIAM EWING, FLOYD                :
MONTGOMERY, JOY MONTGOMERY and                  :    CIVIL ACTION
RAYMAN SOLOMON,                                 :
                                                :    No. 2:17-cv-4392-MMB
                             Plaintiffs,        :
                        v.                      :
                                                :
THOMAS W. WOLF, Governor of                     :
Pennsylvania; PEDRO CORTES, Secretary of        :
State of Pennsylvania; JONATHAN MARKS,          :
Commissioner of the Bureau of Elections – in    :
their official capacities,                      :
                           Defendants.          :

                             WITHDRAWAL OF APPEARANCE

       Kindly withdraw the appearance of Claudia De Palma of the law firm Hangley Aronchick

Segal Pudlin & Schiller as counsel on behalf of defendants Thomas W. Wolf, Governor of

Pennsylvania, Robert Torres, Acting Secretary of the Commonwealth of Pennsylvania, and

Jonathan Marks, Commissioner of the Bureau of Elections, in their official capacities, in the

above-captioned matter.

                                           HANGLEY ARONCHICK SEGAL PUDLIN &
                                           SCHILLER


Dated: April 26, 2018                By:            /s/ Claudia De Palma
                                                    Claudia De Palma (PA ID. No. 320136)
                                                    One Logan Square, 27th Floor
                                                    Philadelphia, PA 19103
                                                    (215) 568-6200

                                                    Attorney for Defendants Thomas W. Wolf,
                                                    Governor of Pennsylvania, Robert Torres,
                                                    Acting Secretary of the Commonwealth of
                                                    Pennsylvania, and Jonathan Marks,
                                                    Commissioner of the Bureau of Elections, in
                                                    their official capacities
           Case 2:17-cv-04392-MMB Document 218 Filed 04/26/18 Page 2 of 2




                                  CERTIFICATE OF SERVICE

          I hereby certify that on April 26, 2018, I caused the foregoing Withdrawal of Appearance

to be filed with the United States District Court for the Eastern District of Pennsylvania via the

Court’s CM/ECF system, which will provide electronic notice to all counsel and parties of

record.

                                                       /s/ Claudia De Palma
                                                      Claudia De Palma
